Case 2:04-Cv-02393-.]PI\/|-tmp Document 21 Filed 08/17/05 Page 1`0f3 Page|D 36

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

 

 

WESTERN orvrs:ou 95 AUG l'I AH|I: 1,3
ISABEL BALLEsTERos GALVEZ, and CLEH|C US T¥W%H

mmle ALEXANDER, W/D C’f§`;»! F,¢§FJPHB
Plaintiffs,
v. No. 04-2393 Ml/P

WAL-MART STORES, EAST, L.P.,

vvv\'vvvvwv

Defendant.

 

ORDER GRANTING MOTION TO SET ASIDE DISMISSAL

 

Before the Court is the Motion to Set Aside Dismissal of
Plaintiffs lsabel Ballesteros Galvez and Marvin Alexander, filed
August 12, 2005. Defendant does not object to Plaintiffs'
motion.

On June 2, 2005, the Court entered an order dismissing
Plaintiffs’ case without prejudice because Plaintiffs failed to
provide the Court with a current address and phone number. The
Court’s June 2, 2005, order provided that Plaintiffs could move
to set aside the dismissal of their case by filing a current
address and phone number with the Court. Plaintiffs’ have
subsequently provided that contact information to the Court.

Accordingly, Plaintiffs' motion to set aside the Court's
June 2, 2005, order dismissing their case is GRANTED. The Clerk

shall file the following Contact information for Plaintiffs:

This document entered on the docket sheet fn compliance n

\..,,;zh Rule 58 and/or 79(a) FRCP on M_;_____ O?//

Case 2:04-Cv-02393-.]PI\/|-tmp Document 21 Filed 08/17/05 Page 2 of 3 Page|D 37

The Walter Bailey Law Firm
100 North Main St., Suite 3002
Memphis, TN 38103
(901) 575~8702
The parties are hereby referred to the United States
Magistrate Judge for a Rule lG(b) conference. The Court will set

a new trial date subsequent to the Rule l6(b) conference.

so oRDERE:D this 111 day of August, 2005.

Q, mild

JO P. MCCALLA
U TED STATES DISTRICT JUDGE

 

SATTES DISTRIT OURT - WESTENR DISRICT oF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 21 in
case 2:04-CV-02393 Was distributed by faX, mail, or direct printing on
August 17, 2005 to the parties listed.

 

 

Javier M. Bailey

WALTER BAILEY & ASSOCIATES
100 North Main St.

Ste. 3002

Memphis7 TN 38103

R. Alan Pritchard

BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ
165 Madison Ave.

Ste. 2000

Memphis7 TN 38103

Walter L. Bailey

WALTER BAILEY & ASSOCIATES
100 North Main St.

Ste. 3002

Memphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

